Case 2:02-cv-02920-.]DB-dkv Document 149 Filed 04/21/05 Page 1 of 2 Page|D 170

IN THE UNITED sTA'rEs DISTRICT COURT -s=:i_;;, W’
FOR THE wEsTERN DISTRICT oF TENNEssEE
wEsTERN DIVIsIoN 05 €=.PR 2£ PH 4 z»_
JERRY L_ BILLINGSLEY, easter a el ‘ mo

CLEH'K, U.S. Dl . ST.
W.D. OF TN, Nli:i\/lPHfS
Plaintiff,

v. No. 02-2920-B/V
SHELBY COUNTY, et al.,

Defendants.

 

ORDER OF REFERENCE

 

Before the Court is the motion of the m s_e Plaintiff, Jerry L. Billingsley, entitled, "Pro
Se Plaintiff’s Objection, to Defendant’s Rule 26(a)(1) and Motion for Clarification, on how to
Proceed, and Remedy," filed on April 19, 2005 (Docket Entry No. 147). The Court construes
Billingsley’s motion as simply an objection and motion to strike the Defendants’ supplemental
26(a)(1) disclosures, which Plaintiff contends contain the names of individuals who were not
previously disclosed to him and as a result of which Plaintiff has not had an opportunity to take
discovery from them.

This pleading is referred to the magistrate judge for determination Any objections to
the magistrate judge’s order shall be made within ten (10) days after service of the order, setting
forth particularly those portions of the order objected to and the reasons for the objections
Failure to timely assign as error a defect in the magistrate judge’s order will constitute a waiver
of that objection. §§ Rule 72(a), Federal Rules of Civil Procedure.

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IT rs So oRDERED this 231 day of Aprii, 2005.

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Notice of Distribution

This notice confirms a copy of the document docketed as number 149 in
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Dedrick Brittenum

FARRIS MATHEWS BRANAN BOBANGO HELLEN & DUNLAP, PLC
One Cornmerce Square

Ste. 2000

Memphis7 TN 38103

J. Phillip Kerley

BREAKSTONE & ASSOCIATES
8 S. Third St.

4th Floor

Memphis7 TN 38103

Jerry L. Billingsley
1670 Altavista
Memphis7 TN 3 8127

Betsy McKinney

GODWIN MORRIS LAURENZI & BLOOl\/[FIELD, P.C.
50 N. Front St.

Ste. 800

Memphis7 TN 38103

Deborah A. Godwin

GODWIN MORRIS LAURENZI & BLOOl\/[FIELD, P.C.
50 N. Front St.

Ste. 800

Memphis7 TN 38103

Henry L. Klein

APPERSON CRUMP & MAXWELL, PLC
6000 Poplar Ave.

Ste. 400

Memphis7 TN 38119--397

Honorable J. Breen
US DISTRICT COURT

